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             A weird thing happened right a ter the Nov                 election nothing


             The nation was braced or chaos Liberal groups had vowed to take to the streets
             planning hundreds o protests across the country Right-wing militias were
             girding or battle In a poll be ore Election Day                     o Americans voiced
             concern about violence


             Instead an eerie quiet descended As President Trump re used to concede the
             response was not mass action but crickets When media organizations called the
             race or Joe Biden on Nov              jubilation broke out instead as people thronged
             cities across the U S to celebrate the democratic process that resulted in
             Trump s ouster


             A second odd thing happened amid Trump s attempts to reverse the result
             corporate America turned on him Hundreds o major business leaders many o
             whom had backed Trump s candidacy and supported his policies called on him
             to concede To the President something elt amiss “It was all very very
             strange        Trump said on Dec          “Within days a ter the election we witnessed
             an orchestrated e ort to anoint the winner even while many key states were still
             being counted


             In a way Trump was right




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             There was a conspiracy un olding behind the scenes one that both curtailed the
             protests and coordinated the resistance rom CEOs Both surprises were the
             result o an in ormal alliance between le t-wing activists and business titans
             The pact was ormalized in a terse little-noticed joint statement o the U S
             Chamber o Commerce and AFL-CIO published on Election Day Both sides
             would come to see it as a sort o implicit bargain–inspired by the summer s
             massive sometimes destructive racial-justice protests–in which the orces o
             labor came together with the orces o capital to keep the peace and oppose
             Trump s assault on democracy


             The handshake between business and labor was just one component o a vast
             cross-partisan campaign to protect the election–an extraordinary shadow e ort
             dedicated not to winning the vote but to ensuring it would be ree and air
             credible and uncorrupted For more than a year a loosely organized coalition o
             operatives scrambled to shore up America s institutions as they came under
             simultaneous attack rom a remorseless pandemic and an autocratically inclined
             President Though much o this activity took place on the le t it was separate
              rom the Biden campaign and crossed ideological lines with crucial
             contributions by nonpartisan and conservative actors The scenario the shadow
             campaigners were desperate to stop was not a Trump victory It was an election
             so calamitous that no result could be discerned at all a ailure o the central act
             o democratic sel -governance that has been a hallmark o America since its
              ounding




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             Their work touched every aspect o the election They got states to change voting
             systems and laws and helped secure hundreds o millions in public and private
              unding They ended o voter-suppression lawsuits recruited armies o poll
             workers and got millions o people to vote by mail or the rst time They
             success ully pressured social media companies to take a harder line against
             disin ormation and used data-driven strategies to ght viral smears They
             executed national public-awareness campaigns that helped Americans
             understand how the vote count would un old over days or weeks preventing
             Trump s conspiracy theories and alse claims o victory rom getting more
             traction A ter Election Day they monitored every pressure point to ensure that
             Trump could not overturn the result “The untold story o the election is the
             thousands o people o both parties who accomplished the triumph o American




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             democracy at its very oundation              says Norm Eisen a prominent lawyer and
              ormer Obama Administration o cial who recruited Republicans and
             Democrats to the board o the Voter Protection Program


             For Trump and his allies were running their own campaign to spoil the election
             The President spent months insisting that mail ballots were a Democratic plot
             and the election would be “rigged             His henchmen at the state level sought to
             block their use while his lawyers brought dozens o spurious suits to make it
             more di cult to vote–an intensi cation o the GOP s legacy o suppressive
             tactics Be ore the election Trump plotted to block a legitimate vote count And
             he spent the months ollowing Nov                 trying to steal the election he d lost–with
             lawsuits and conspiracy theories pressure on state and local o cials and nally
             summoning his army o supporters to the Jan                   rally that ended in deadly
             violence at the Capitol


             The democracy campaigners watched with alarm “Every week we elt like we
             were in a struggle to try to pull o this election without the country going
             through a real dangerous moment o unraveling                    says ormer GOP
             Representative Zach Wamp a Trump supporter who helped coordinate a
             bipartisan election-protection council “We can look back and say this thing
             went pretty well but it was not at all clear in September and October that that
             was going to be the case




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             Biden ans in Philadelphia a ter the race was called on Nov
             Michelle Gusta son or TIME




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             This is the inside story o the conspiracy to save the                    election based on
             access to the group s inner workings never-be ore-seen documents and
             interviews with dozens o those involved rom across the political spectrum It is
             the story o an unprecedented creative and determined campaign whose
             success also reveals how close the nation came to disaster “Every attempt to
             inter ere with the proper outcome o the election was de eated                      says Ian Bassin
             co- ounder o Protect Democracy a nonpartisan rule-o -law advocacy group
             “But it s massively important or the country to understand that it didn t happen
             accidentally The system didn t work magically Democracy is not sel -
             executing


             That s why the participants want the secret history o the                       election told
             even though it sounds like a paranoid ever dream–a well- unded cabal o
             power ul people ranging across industries and ideologies working together
             behind the scenes to in uence perceptions change rules and laws steer media
             coverage and control the ow o in ormation They were not rigging the election
             they were orti ying it And they believe the public needs to understand the
             system s ragility in order to ensure that democracy in America endures



             THE ARCHITECT

             Sometime in the all o                 Mike Podhorzer became convinced the election
             was headed or disaster–and determined to protect it


             This was not his usual purview For nearly a quarter-century Podhorzer senior
             adviser to the president o the AFL-CIO the nation s largest union ederation
             has marshaled the latest tactics and data to help its avored candidates win
             elections Unassuming and pro essorial he isn t the sort o hair-gelled “political
             strategist who shows up on cable news Among Democratic insiders he s
             known as the wizard behind some o the biggest advances in political technology
             in recent decades A group o liberal strategists he brought together in the early


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                      s led to the creation o the Analyst Institute a secretive rm that applies
             scienti c methods to political campaigns He was also involved in the ounding
             o Catalist the agship progressive data company


             The endless chatter in Washington about “political strategy                    Podhorzer
             believes has little to do with how change really gets made “My basic take on
             politics is that it s all pretty obvious i you don t overthink it or swallow the
             prevailing rameworks whole              he once wrote “A ter that just relentlessly
             identi y your assumptions and challenge them                  Podhorzer applies that
             approach to everything when he coached his now adult son s Little League team
             in the D C suburbs he trained the boys not to swing at most pitches–a tactic that
             in uriated both their and their opponents parents but won the team a series o
             championships


             Trump s election in              –credited in part to his unusual strength among the sort
             o blue collar white voters who once dominated the AFL-CIO–prompted
             Podhorzer to question his assumptions about voter behavior He began
             circulating weekly number-crunching memos to a small circle o allies and
             hosting strategy sessions in D C But when he began to worry about the election
             itsel he didn t want to seem paranoid It was only a ter months o research that
             he introduced his concerns in his newsletter in October                         The usual tools o
             data analytics and polling would not be su cient in a situation where the
             President himsel was trying to disrupt the election he wrote “Most o our
             planning takes us through Election Day               he noted “But we are not prepared
              or the two most likely outcomes –Trump losing and re using to concede and
             Trump winning the Electoral College despite losing the popular vote by
             corrupting the voting process in key states “We desperately need to
             systematically red-team this election so that we can anticipate and plan or the
             worst we know will be coming our way


             It turned out Podhorzer wasn t the only one thinking in these terms He began to
             hear rom others eager to join orces The Fight Back Table a coalition o
             “resistance organizations had begun scenario-planning around the potential
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              or a contested election gathering liberal activists at the local and national level
             into what they called the Democracy De ense Coalition Voting-rights and civil
             rights organizations were raising alarms A group o ormer elected o cials was
             researching emergency powers they eared Trump might exploit Protect
             Democracy was assembling a bipartisan election-crisis task orce “It turned out
             that once you said it out loud people agreed               Podhorzer says “and it started
             building momentum


             He spent months pondering scenarios and talking to experts It wasn t hard to
               nd liberals who saw Trump as a dangerous dictator but Podhorzer was care ul
             to steer clear o hysteria What he wanted to know was not how American
             democracy was dying but how it might be kept alive The chie di erence
             between the U S and countries that lost their grip on democracy he concluded
             was that America s decentralized election system couldn t be rigged in one ell
             swoop That presented an opportunity to shore it up



             THE ALLIANCE

             On March             Podhorzer dra ted a three-page con dential memo titled “Threats
             to the             Election         “Trump has made it clear that this will not be a air
             election and that he will reject anything but his own re-election as ake and
             rigged        he wrote “On Nov              should the media report otherwise he will use
             the right-wing in ormation system to establish his narrative and incite his
             supporters to protest               The memo laid out our categories o challenges attacks
             on voters attacks on election administration attacks on Trump s political
             opponents and “e orts to reverse the results o the election


             Then COVID-                    erupted at the height o the primary-election season Normal
             methods o voting were no longer sa e or voters or the mostly elderly volunteers
             who normally sta polling places But political disagreements intensi ed by
             Trump s crusade against mail voting prevented some states rom making it
             easier to vote absentee and or jurisdictions to count those votes in a timely

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             manner Chaos ensued Ohio shut down in-person voting or its primary leading
             to minuscule turnout A poll-worker shortage in Milwaukee–where Wisconsin s
             heavily Democratic Black population is concentrated–le t just ve open polling
             places down rom                In New York vote counting took more than a month


             Suddenly the potential or a November meltdown was obvious In his
             apartment in the D C suburbs Podhorzer began working rom his laptop at his
             kitchen table holding back-to-back Zoom meetings or hours a day with his
             network o contacts across the progressive universe the labor movement the
             institutional le t like Planned Parenthood and Greenpeace resistance groups
             like Indivisible and MoveOn progressive data geeks and strategists
             representatives o donors and oundations state-level grassroots organizers
             racial-justice activists and others


             In April Podhorzer began hosting a weekly ½-hour Zoom It was structured
             around a series o rapid- re ve-minute presentations on everything rom which
             ads were working to messaging to legal strategy The invitation-only gatherings
             soon attracted hundreds creating a rare shared base o knowledge or the
              ractious progressive movement “At the risk o talking trash about the le t
             there s not a lot o good in ormation sharing               says Anat Shenker-Osorio a close
             Podhorzer riend whose poll-tested messaging guidance shaped the group s
             approach “There s a lot o not-invented-here syndrome where people won t
             consider a good idea i they didn t come up with it


             The meetings became the galactic center or a constellation o operatives across
             the le t who shared overlapping goals but didn t usually work in concert The
             group had no name no leaders and no hierarchy but it kept the disparate actors
             in sync “Pod played a critical behind-the-scenes role in keeping di erent pieces
             o the movement in rastructure in communication and aligned                        says Maurice
             Mitchell national director o the Working Families Party “You have the
             litigation space the organizing space the political people just ocused on the W
             and their strategies aren t always aligned He allowed this ecosystem to work
             together
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             Protecting the election would require an e ort o unprecedented scale As
             progressed it stretched to Congress Silicon Valley and the nation s statehouses
             It drew energy rom the summer s racial-justice protests many o whose leaders
             were a key part o the liberal alliance And eventually it reached across the aisle
             into the world o Trump-skeptical Republicans appalled by his attacks on
             democracy



             SECURING THE VOTE

             The rst task was overhauling America s balky election in rastructure–in the
             middle o a pandemic For the thousands o local mostly nonpartisan o cials
             who administer elections the most urgent need was money They needed
             protective equipment like masks gloves and hand sanitizer They needed to pay
              or postcards letting people know they could vote absentee–or in some states to
             mail ballots to every voter They needed additional sta and scanners to process
             ballots


             In March activists appealed to Congress to steer COVID relie money to
             election administration Led by the Leadership Con erence on Civil and Human
             Rights more than                organizations signed a letter to every member o
             Congress seeking               billion in election unding It was somewhat success ul the
             CARES Act passed later that month contained                         million in grants to state
             election administrators But the next tranche o relie unding didn t add to that
             number It wasn t going to be enough


             Private philanthropy stepped into the breach An assortment o oundations
             contributed tens o millions in election-administration unding The Chan
             Zuckerberg Initiative chipped in                 million “It was a ailure at the ederal
             level that                local election o cials were orced to apply or philanthropic
             grants to ll their needs           says Amber McReynolds a ormer Denver election
             o cial who heads the nonpartisan National Vote at Home Institute


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             McReynolds two-year-old organization became a clearinghouse or a nation
             struggling to adapt The institute gave secretaries o state rom both parties
             technical advice on everything rom which vendors to use to how to locate drop
             boxes Local o cials are the most trusted sources o election in ormation but
              ew can a ord a press secretary so the institute distributed communications tool
             kits In a presentation to Podhorzer s group McReynolds detailed the
             importance o absentee ballots or shortening lines at polling places and
             preventing an election crisis


             The institute s work helped            states and D C bolster mail voting But it
             wouldn t be worth much i people didn t take advantage Part o the challenge
             was logistical each state has di erent rules or when and how ballots should be
             requested and returned The Voter Participation Center which in a normal year
             would have deployed canvassers door-to-door to get out the vote instead
             conducted ocus groups in April and May to nd out what would get people to
             vote by mail In August and September it sent ballot applications to                       million
             people in key states           million o whom returned them In mailings and digital
             ads the group urged people not to wait or Election Day “All the work we have
             done or            years was built or this moment o bringing democracy to people s
             doorsteps          says Tom Lopach the center s CEO


             The e ort had to overcome heightened skepticism in some communities Many
             Black voters pre erred to exercise their ranchise in person or didn t trust the
             mail National civil rights groups worked with local organizations to get the word
             out that this was the best way to ensure one s vote was counted In Philadelphia
              or example advocates distributed “voting sa ety kits containing masks hand
             sanitizer and in ormational brochures “We had to get the message out that this
             is sa e reliable and you can trust it           says Hannah Fried o All Voting Is Local


             At the same time Democratic lawyers battled a historic tide o pre-election
             litigation The pandemic intensi ed the parties usual tangling in the courts But
             the lawyers noticed something else as well “The litigation brought by the Trump
             campaign o a piece with the broader campaign to sow doubt about mail voting
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             was making novel claims and using theories no court has ever accepted                        says
             Wendy Weiser a voting-rights expert at the Brennan Center or Justice at NYU
             “They read more like lawsuits designed to send a message rather than achieve a
             legal outcome


             In the end nearly hal the electorate cast ballots by mail in                       practically a
             revolution in how people vote About a quarter voted early in person Only a
             quarter o voters cast their ballots the traditional way in person on Election Day



             THE DISINFORMATION DEFENSE

             Bad actors spreading alse in ormation is nothing new For decades campaigns
             have grappled with everything rom anonymous calls claiming the election has
             been rescheduled to iers spreading nasty smears about candidates amilies
             But Trump s lies and conspiracy theories the viral orce o social media and the
             involvement o oreign meddlers made disin ormation a broader deeper threat
             to the             vote


             Laura Quinn a veteran progressive operative who co- ounded Catalist began
             studying this problem a ew years ago She piloted a nameless secret project
             which she has never be ore publicly discussed that tracked disin ormation
             online and tried to gure out how to combat it One component was tracking
             dangerous lies that might otherwise spread unnoticed Researchers then
             provided in ormation to campaigners or the media to track down the sources
             and expose them


             The most important takeaway rom Quinn s research however was that
             engaging with toxic content only made it worse “When you get attacked the
             instinct is to push back call it out say This isn t true ' Quinn says “But the
             more engagement something gets the more the plat orms boost it The
             algorithm reads that as Oh this is popular people want more o it '


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             The solution she concluded was to pressure plat orms to en orce their rules
             both by removing content or accounts that spread disin ormation and by more
             aggressively policing it in the rst place “The plat orms have policies against
             certain types o malign behavior but they haven t been en orcing them                         she
             says


             Quinn s research gave ammunition to advocates pushing social media plat orms
             to take a harder line In November                    Mark Zuckerberg invited nine civil
             rights leaders to dinner at his home where they warned him about the danger o
             the election-related alsehoods that were already spreading unchecked “It took
             pushing urging conversations brainstorming all o that to get to a place where
             we ended up with more rigorous rules and en orcement                     says Vanita Gupta
             president and CEO o the Leadership Con erence on Civil and Human Rights
             who attended the dinner and also met with Twitter CEO Jack Dorsey and others
              Gupta has been nominated or Associate Attorney General by President Biden
             “It was a struggle but we got to the point where they understood the problem
             Was it enough? Probably not Was it later than we wanted? Yes But it was really
             important given the level o o cial disin ormation that they had those rules in
             place and were tagging things and taking them down



             SPREADING THE WORD

             Beyond battling bad in ormation there was a need to explain a rapidly changing
             election process It was crucial or voters to understand that despite what Trump
             was saying mail-in votes weren t susceptible to raud and that it would be
             normal i some states weren t nished counting votes on election night


             Dick Gephardt the Democratic ormer House leader turned high-powered
             lobbyist spearheaded one coalition “We wanted to get a really bipartisan group
             o ormer elected o cials Cabinet secretaries military leaders and so on aimed
             mainly at messaging to the public but also speaking to local o cials–the


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             secretaries o state attorneys general governors who would be in the eye o the
             storm–to let them know we wanted to help                 says Gephardt who worked his
             contacts in the private sector to put              million behind the e ort


             Wamp the ormer GOP Congressman worked through the nonpartisan re orm
             group Issue One to rally Republicans “We thought we should bring some
             bipartisan element o unity around what constitutes a ree and air election
             Wamp says The                   Democrats and     Republicans on the National Council on
             Election Integrity met on Zoom at least once a week They ran ads in six states
             made statements wrote articles and alerted local o cials to potential problems
             “We had rabid Trump supporters who agreed to serve on the council based on
             the idea that this is honest           Wamp says This is going to be just as important he
             told them to convince the liberals when Trump wins “Whichever way it cuts
             we re going to stick together


             The Voting Rights Lab and IntoAction created state-speci c memes and
             graphics spread by email text Twitter Facebook Instagram and TikTok
             urging that every vote be counted Together they were viewed more than
             billion times Protect Democracy s election task orce issued reports and held
             media brie ngs with high-pro le experts across the political spectrum resulting
             in widespread coverage o potential election issues and act-checking o Trump s
              alse claims The organization s tracking polls ound the message was being
             heard the percentage o the public that didn t expect to know the winner on
             election night gradually rose until by late October it was over                       A majority
             also believed that a prolonged count wasn t a sign o problems “We knew
             exactly what Trump was going to do he was going to try to use the act that
             Democrats voted by mail and Republicans voted in person to make it look like he
             was ahead claim victory say the mail-in votes were raudulent and try to get
             them thrown out                says Protect Democracy s Bassin Setting public expectations
             ahead o time helped undercut those lies




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             Amber McReynolds Zach Wamp and Maurice Mitchell
             Rachel Wool or TIME Erik Schelzig—AP/Shutterstock Holly Pickett—The
             New York Times/Redux


             The alliance took a common set o themes rom the research Shenker-Osorio
             presented at Podhorzer s Zooms Studies have shown that when people don t
             think their vote will count or ear casting it will be a hassle they re ar less likely
             to participate Throughout election season members o Podhorzer s group
             minimized incidents o voter intimidation and tamped down rising liberal
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             hysteria about Trump s expected re usal to concede They didn t want to ampli y
              alse claims by engaging them or put people o voting by suggesting a rigged
             game “When you say These claims o raud are spurious what people hear is
               raud ' Shenker-Osorio says “What we saw in our pre-election research was
             that anything that rea rmed Trump s power or cast him as an authoritarian
             diminished people s desire to vote


             Podhorzer meanwhile was warning everyone he knew that polls were
             underestimating Trump s support The data he shared with media organizations
             who would be calling the election was “tremendously use ul to understand
             what was happening as the votes rolled in according to a member o a major
             network s political unit who spoke with Podhorzer be ore Election Day Most
             analysts had recognized there would be a “blue shi t in key battlegrounds– the
             surge o votes breaking toward Democrats driven by tallies o mail-in ballots–
             but they hadn t comprehended how much better Trump was likely to do on
             Election Day “Being able to document how big the absentee wave would be and
             the variance by state was essential            the analyst says



             PEOPLE POWER

             The racial-justice uprising sparked by George Floyd s killing in May was not
             primarily a political movement The organizers who helped lead it wanted to
             harness its momentum or the election without allowing it to be co-opted by
             politicians Many o those organizers were part o Podhorzer s network rom the
             activists in battleground states who partnered with the Democracy De ense
             Coalition to organizations with leading roles in the Movement or Black Lives


             The best way to ensure people s voices were heard they decided was to protect
             their ability to vote “We started thinking about a program that would
             complement the traditional election-protection area but also didn t rely on
             calling the police             says Nelini Stamp the Working Families Party s national
             organizing director They created a orce o “election de enders who unlike

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             traditional poll watchers were trained in de-escalation techniques During early
             voting and on Election Day they surrounded lines o voters in urban areas with a
             “joy to the polls e ort that turned the act o casting a ballot into a street party
             Black organizers also recruited thousands o poll workers to ensure polling
             places would stay open in their communities


             The summer uprising had shown that people power could have a massive
             impact Activists began preparing to reprise the demonstrations i Trump tried to
             steal the election “Americans plan widespread protests i Trump inter eres with
             election        Reuters reported in October one o many such stories More than
             liberal groups rom the Women s March to the Sierra Club to Color o Change
              rom Democrats com to the Democratic Socialists o America joined the
             “Protect the Results coalition The group s now de unct website had a map
             listing           planned postelection demonstrations to be activated via text
             message as soon as Nov             To stop the coup they eared the le t was ready to
               ood the streets



             STRANGE BEDFELLOWS

             About a week be ore Election Day Podhorzer received an unexpected message
             the U S Chamber o Commerce wanted to talk


             The AFL-CIO and the Chamber have a long history o antagonism Though
             neither organization is explicitly partisan the in uential business lobby has
             poured hundreds o millions o dollars into Republican campaigns just as the
             nation s unions unnel hundreds o millions to Democrats On one side is labor
             on the other management locked in an eternal struggle or power and resources


             But behind the scenes the business community was engaged in its own anxious
             discussions about how the election and its a termath might un old The
             summer s racial-justice protests had sent a signal to business owners too the
             potential or economy-disrupting civil disorder “With tensions running high

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             there was a lot o concern about unrest around the election or a breakdown in
             our normal way we handle contentious elections                  says Neil Bradley the
             Chamber s executive vice president and chie policy o cer These worries had
             led the Chamber to release a pre-election statement with the Business
             Roundtable a Washington-based CEOs group as well as associations o
             manu acturers wholesalers and retailers calling or patience and con dence as
             votes were counted


             But Bradley wanted to send a broader more bipartisan message He reached out
             to Podhorzer through an intermediary both men declined to name Agreeing
             that their unlikely alliance would be power ul they began to discuss a joint
             statement pledging their organizations shared commitment to a air and
             peace ul election They chose their words care ully and scheduled the
             statement s release or maximum impact As it was being nalized Christian
             leaders signaled their interest in joining urther broadening its reach


             The statement was released on Election Day under the names o Chamber CEO
             Thomas Donohue AFL-CIO president Richard Trumka and the heads o the
             National Association o Evangelicals and the National A rican American Clergy
             Network “It is imperative that election o cials be given the space and time to
             count every vote in accordance with applicable laws                 it stated “We call on the
             media the candidates and the American people to exercise patience with the
             process and trust in our system even i it requires more time than usual                      The
             groups added “Although we may not always agree on desired outcomes up and
             down the ballot we are united in our call or the American democratic process to
             proceed without violence intimidation or any other tactic that makes us weaker
             as a nation



             SHOWING UP STANDING DOWN



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             Election night began with many Democrats despairing Trump was running
             ahead o pre-election polling winning Florida Ohio and Texas easily and
             keeping Michigan Wisconsin and Pennsylvania too close to call But Podhorzer
             was unperturbed when I spoke to him that night the returns were exactly in line
             with his modeling He had been warning or weeks that Trump voters turnout
             was surging As the numbers dribbled out he could tell that as long as all the
             votes were counted Trump would lose


             The liberal alliance gathered or an              p m Zoom call Hundreds joined many
             were reaking out “It was really important or me and the team in that moment
             to help ground people in what we had already known was true                      says Angela
             Peoples director or the Democracy De ense Coalition Podhorzer presented
             data to show the group that victory was in hand


             While he was talking Fox News surprised everyone by calling Arizona or Biden
             The public-awareness campaign had worked TV anchors were bending over
             backward to counsel caution and rame the vote count accurately The question
             then became what to do next


             The conversation that ollowed was a di cult one led by the activists charged
             with the protest strategy “We wanted to be mind ul o when was the right time
             to call or moving masses o people into the street                 Peoples says As much as
             they were eager to mount a show o strength mobilizing immediately could
             back re and put people at risk Protests that devolved into violent clashes would
             give Trump a pretext to send in ederal agents or troops as he had over the
             summer And rather than elevate Trump s complaints by continuing to ght him
             the alliance wanted to send the message that the people had spoken


             So the word went out stand down Protect the Results announced that it would
             “not be activating the entire national mobilization network today but remains
             ready to activate i necessary           On Twitter outraged progressives wondered
             what was going on Why wasn t anyone trying to stop Trump s coup? Where were
             all the protests?
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             Podhorzer credits the activists or their restraint “They had spent so much time
             getting ready to hit the streets on Wednesday But they did it                  he says
             “Wednesday through Friday there was not a single Anti a vs Proud Boys
             incident like everyone was expecting And when that didn t materialize I don t
             think the Trump campaign had a backup plan


             Activists reoriented the Protect the Results protests toward a weekend o
             celebration “Counter their disin o with our con dence & get ready to
             celebrate         read the messaging guidance Shenker-Osorio presented to the liberal
             alliance on Friday Nov                  “Declare and orti y our win Vibe con dent
              orward-looking uni ed–NOT passive anxious                     The voters not the
             candidates would be the protagonists o the story


             The planned day o celebration happened to coincide with the election being
             called on Nov                  Activists dancing in the streets o Philadelphia blasted Beyoncé
             over an attempted Trump campaign press con erence the Trumpers next
             con ab was scheduled or Four Seasons Total Landscaping outside the city
             center which activists believe was not a coincidence “The people o
             Philadelphia owned the streets o Philadelphia                 crows the Working Families
             Party s Mitchell “We made them look ridiculous by contrasting our joyous
             celebration o democracy with their clown show


             The votes had been counted Trump had lost But the battle wasn t over



             THE FIVE STEPS TO VICTORY

             In Podhorzer s presentations winning the vote was only the rst step to winning
             the election A ter that came winning the count winning the certi cation
             winning the Electoral College and winning the transition–steps that are normally
              ormalities but that he knew Trump would see as opportunities or disruption




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             Nowhere would that be more evident than in Michigan where Trump s pressure
             on local Republicans came perilously close to working–and where liberal and
             conservative pro-democracy orces joined to counter it


             It was around              p m on election night in Detroit when a urry o texts lit up the
             phone o Art Reyes III A busload o Republican election observers had arrived at
             the TCF Center where votes were being tallied They were crowding the vote-
             counting tables re using to wear masks heckling the mostly Black workers
             Reyes a Flint native who leads We the People Michigan was expecting this For
             months conservative groups had been sowing suspicion about urban vote raud
             “The language was They re going to steal the election there will be raud in
             Detroit long be ore any vote was cast              Reyes says




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             Trump supporters seek to disrupt the vote count at Detroit s TCF Center on Nov


             Elaine Cromie—Getty Images


             He made his way to the arena and sent word to his network Within                         minutes
             dozens o rein orcements had arrived As they entered the arena to provide a
             counterweight to the GOP observers inside Reyes took down their cell-phone
             numbers and added them to a massive text chain Racial-justice activists rom
             Detroit Will Breathe worked alongside suburban women rom Fems or Dems
             and local elected o cials Reyes le t at a m handing the text chain over to a
             disability activist


             As they mapped out the steps in the election-certi cation process activists
             settled on a strategy o oregrounding the people s right to decide demanding
             their voices be heard and calling attention to the racial implications o
             disen ranchising Black Detroiters They ooded the Wayne County canvassing
             board s Nov               certi cation meeting with on-message testimony despite a
             Trump tweet the Republican board members certi ed Detroit s votes

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             Election boards were one pressure point another was GOP-controlled
             legislatures who Trump believed could declare the election void and appoint
             their own electors And so the President invited the GOP leaders o the Michigan
             legislature House Speaker Lee Chat eld and Senate majority leader Mike
             Shirkey to Washington on Nov


             It was a perilous moment I Chat eld and Shirkey agreed to do Trump s
             bidding Republicans in other states might be similarly bullied “I was concerned
             things were going to get weird           says Je Timmer a ormer Michigan GOP
             executive director turned anti-Trump activist Norm Eisen describes it as “the
             scariest moment o the entire election


             The democracy de enders launched a ull-court press Protect Democracy s
             local contacts researched the lawmakers personal and political motives Issue
             One ran television ads in Lansing The Chamber s Bradley kept close tabs on the
             process Wamp the ormer Republican Congressman called his ormer
             colleague Mike Rogers who wrote an op-ed or the Detroit newspapers urging
             o cials to honor the will o the voters Three ormer Michigan governors–
             Republicans John Engler and Rick Snyder and Democrat Jenni er Granholm–
             jointly called or Michigan s electoral votes to be cast ree o pressure rom the
             White House Engler a ormer head o the Business Roundtable made phone
             calls to in uential donors and ellow GOP elder statesmen who could press the
             lawmakers privately


             The pro-democracy orces were up against a Trumpi ed Michigan GOP
             controlled by allies o Ronna McDaniel the Republican National Committee
             chair and Betsy DeVos the ormer Education Secretary and a member o a
             billionaire amily o GOP donors On a call with his team on Nov                           Bassin
             vented that his side s pressure was no match or what Trump could o er “O
             course he s going to try to o er them something                Bassin recalls thinking “Head
             o the Space Force! Ambassador to wherever! We can t compete with that by
             o ering carrots We need a stick


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             I Trump were to o er something in exchange or a personal avor that would
             likely constitute bribery Bassin reasoned He phoned Richard Primus a law
             pro essor at the University o Michigan to see i Primus agreed and would make
             the argument publicly Primus said he thought the meeting itsel was
             inappropriate and got to work on an op-ed or Politico warning that the state
             attorney general–a Democrat–would have no choice but to investigate When the
             piece posted on Nov             the attorney general s communications director
             tweeted it Protect Democracy soon got word that the lawmakers planned to
             bring lawyers to the meeting with Trump the next day


             Reyes activists scanned ight schedules and ocked to the airports on both ends
             o Shirkey s journey to D C to underscore that the lawmakers were being
             scrutinized A ter the meeting the pair announced they d pressed the President
             to deliver COVID relie or their constituents and in ormed him they saw no role
             in the election process Then they went or a drink at the Trump hotel on
             Pennsylvania Avenue A street artist projected their images onto the outside o
             the building along with the words THE WORLD IS WATCHING


             That le t one last step the state canvassing board made up o two Democrats
             and two Republicans One Republican a Trumper employed by the DeVos
              amily s political nonpro t was not expected to vote or certi cation The other
             Republican on the board was a little-known lawyer named Aaron Van
             Langevelde He sent no signals about what he planned to do leaving everyone
             on edge


             When the meeting began Reyes s activists ooded the livestream and lled
             Twitter with their hashtag          alleyesonmi A board accustomed to attendance in
             the single digits suddenly aced an audience o thousands In hours o
             testimony the activists emphasized their message o respecting voters wishes
             and a rming democracy rather than scolding the o cials Van Langevelde
             quickly signaled he would ollow precedent The vote was - to certi y the
             other Republican abstained


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             A ter that the dominoes ell Pennsylvania Wisconsin and the rest o the states
             certi ed their electors Republican o cials in Arizona and Georgia stood up to
             Trump s bullying And the Electoral College voted on schedule on Dec



             HOW CLOSE WE CAME

             There was one last milestone on Podhorzer s mind Jan                       On the day Congress
             would meet to tally the electoral count Trump summoned his supporters to D C
              or a rally


             Much to their surprise the thousands who answered his call were met by
             virtually no counterdemonstrators To preserve sa ety and ensure they couldn t
             be blamed or any mayhem the activist le t was “strenuously discouraging
             counter activity               Podhorzer texted me the morning o Jan            with a crossed-
               ngers emoji


             Trump addressed the crowd that a ternoon peddling the lie that lawmakers or
             Vice President Mike Pence could reject states electoral votes He told them to go
             to the Capitol and “ ght like hell            Then he returned to the White House as they
             sacked the building As lawmakers ed or their lives and his own supporters
             were shot and trampled Trump praised the rioters as “very special


             It was his nal attack on democracy and once again it ailed By standing down
             the democracy campaigners out oxed their oes “We won by the skin o our
             teeth honestly and that s an important point or olks to sit with                     says the
             Democracy De ense Coalition s Peoples “There s an impulse or some to say
             voters decided and democracy won But it s a mistake to think that this election
             cycle was a show o strength or democracy It shows how vulnerable democracy
             is




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             The members o the alliance to protect the election have gone their separate
             ways The Democracy De ense Coalition has been disbanded though the Fight
             Back Table lives on Protect Democracy and the good-government advocates
             have turned their attention to pressing re orms in Congress Le t-wing activists
             are pressuring the newly empowered Democrats to remember the voters who
             put them there while civil rights groups are on guard against urther attacks on
             voting Business leaders denounced the Jan                  attack and some say they will no
             longer donate to lawmakers who re used to certi y Biden s victory Podhorzer
             and his allies are still holding their Zoom strategy sessions gauging voters views
             and developing new messages And Trump is in Florida acing his second
             impeachment deprived o the Twitter and Facebook accounts he used to push
             the nation to its breaking point


             As I was reporting this article in November and December I heard di erent
             claims about who should get the credit or thwarting Trump s plot Liberals
             argued the role o bottom-up people power shouldn t be overlooked particularly
             the contributions o people o color and local grassroots activists Others
             stressed the heroism o GOP o cials like Van Langevelde and Georgia secretary
             o state Brad Ra ensperger who stood up to Trump at considerable cost The
             truth is that neither likely could have succeeded without the other “It s
             astounding how close we came how ragile all this really is                   says Timmer the
              ormer Michigan GOP executive director “It s like when Wile E Coyote runs o
             the cli –i you don t look down you don t all Our democracy only survives i we
             all believe and don t look down


             Democracy won in the end The will o the people prevailed But it s crazy in
             retrospect that this is what it took to put on an election in the United States o
             America


             –With reporting by LESLIE DICKSTEIN MARIAH ESPADA and SIMMONE
             SHAH



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             Correction appended Feb             The original version o this stor misstated the name o
             Norm Eisen s organi ation It is the Voter Protection Program not the Voter
             Protection Project The original version o this stor also misstated Je Timmer s
              ormer position ith the Michigan Republican Part He as the e ecutive director
             not the chairman


             This appears in the Februar                     issue o TIME




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